              Case 2:11-cr-00490-DAD Document 115 Filed 07/05/13 Page 1 of 1



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 4 Attorney for Defendant
   Irina Markevich
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 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                             CASE NO. 11-CR-0490 JAM
12                                Plaintiff,               APPLICATION FOR COUNSEL TO
                                                           MAKE SPECIAL APPEARANCE AT
13   v.                                                    JULY 9, 2013 STATUS CONFERENCE
14   IRINA MARKEVICH, et al.,
15                                Defendants,
16

17          Counsel for defendant Irina Markevich, Timothy E. Warriner, respectfully requests that the
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     court permit attorney Dina Santos to specially appear for him at the July 9, 2013 status conference.
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     Counsel has a pre-paid vacation in South Lake Tahoe from July 7 through 12. Counsel’s agreement
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     to set the status conference on July 9 was made in error. The government has no objection to Ms.
21
     Santos making a special appearance.
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     DATED: July 3, 2013                   /s/ Timothy E. Warriner, Attorney for Defendant, Irina
24                                         Markevich

25 IT IS SO ORDERED.

26 DATED: 7/3/2013                         /s/ John A. Mendez________________________
                                           UNITED STATES DISTRICT COURT JUDGE
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